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uNiTEt) sTATEs oF AMERICA, vc»'£`DEg§~li£i §§ regis

Plaintiff,

VS.
CR. NO. 05-20'|78-3

EL|JAH LES`|'ER1

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|F¥[NG PERIOD OF EXCLUDABLE DELAV
AND SETT|NG

 

This cause came on for a report date on May 31, 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a
onrt date of Mondav. Ju|v 25. 2005. at 9:30 a.m., in Courtroom 1, 11th Floor of the
Federal Bui|ding, Memphis, TN.

The period from June 17, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time

to prepare outweigh the need for a s eedy trial.
IT lS SO ORDERED this é;;a June, 2005.

 

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UN| ED STATES plsTR T JuooE
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with Fiuie 55 and!or 32{b) FRCrP on /

     
 
 

UNITED sTATE D"ISIC COURT - WESRNTE D's'TRCT oFTENNESSEE

   
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 2:05-CR-20178 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

 

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167 N. Main St.

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Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

